In re Delphi Corporation, et al.
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Case No. 05-44481 (RDD)
 EXHIBIT F-6 - ADJOURNED CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 14277
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $88,154.71                       ARGO PARTNERS                             Docketed Total:                   $88,154.71   ARGO PARTNERS                         Modified Total:          $82,016.97
Filing Creditor Name and Address:                  12 W 37TH ST 9TH FL                                                                      12 W 37TH ST 9TH FL
  AIRGAS SOUTHWEST INC                             NEW YORK, NY 10018                                                                       NEW YORK, NY 10018
  AIRGAS INC
  259 N RADNOR CHESTER ROAD                       Case Number*                     Secured     Priority                   Unsecured         Case Number*              Secured           Priority      Unsecured
  SUITE 100                                       05-44481                                                                     $88,154.71   05-44640                                                       $82,016.97
  RADNOR, PA 19087
                                                                                                                               $88,154.71                                                                  $82,016.97

Claim: 7837
                                                   Claim Holder Name and Address
Date Filed: 06/12/2006
Docketed Total:   $152,445.85                      AMROC INVESTMENTS LLC                     Docketed Total:                  $152,445.85   AMROC INVESTMENTS LLC                 Modified Total:         $143,532.08
Filing Creditor Name and Address:                  535 MADISON AVE 15TH FL                                                                  535 MADISON AVE 15TH FL
  AMROC INVESTMENTS LLC AS                         NEW YORK, NY 10022                                                                       NEW YORK, NY 10022
  ASSIGNEE OF DERINGER MPG CO
  INC                                             Case Number*                     Secured     Priority                   Unsecured         Case Number*              Secured           Priority      Unsecured
  535 MADISON AVE 15TH FL                         05-44567                                                                    $152,445.85   05-44567                                                      $143,532.08
  NEW YORK, NY 10022
                                                                                                                              $152,445.85                                                                 $143,532.08

Claim: 5087
                                                   Claim Holder Name and Address
Date Filed: 05/08/2006
Docketed Total:   $31,423.21                       CINGULAR WIRELESS                         Docketed Total:                   $31,423.21   CINGULAR WIRELESS                     Modified Total:          $10,761.88
Filing Creditor Name and Address:                  PO BOX 309                                                                               PO BOX 309
  CINGULAR WIRELESS                                PORTLAND, OR 97207-0309                                                                  PORTLAND, OR 97207-0309
  PO BOX 309
  PORTLAND, OR 97207-0309                         Case Number*                     Secured     Priority                   Unsecured         Case Number*              Secured           Priority      Unsecured
                                                  05-44481                                                                     $31,423.21   05-44640                                                       $10,761.88

                                                                                                                               $31,423.21                                                                  $10,761.88




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
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Case No. 05-44481 (RDD)
 EXHIBIT F-6 - ADJOURNED CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                                      CLAIM AS MODIFIED

Claim: 7374
                                                   Claim Holder Name and Address
Date Filed: 06/02/2006
Docketed Total:   $595,983.31                      CONTRARIAN FUNDS LLC AS                          Docketed Total:                  $595,983.31   CONTRARIAN FUNDS LLC AS          Modified Total:         $530,803.34
Filing Creditor Name and Address:                  ASSIGNEE OF CAPSTAN ATLANTIC                                                                    ASSIGNEE OF CAPSTAN ATLANTIC
  CONTRARIAN FUNDS LLC AS                          411 W PUTNAM AVE STE 225                                                                        411 W PUTNAM AVE STE 225
  ASSIGNEE OF CAPSTAN                              GREENWICH, CT 06830                                                                             GREENWICH, CT 06830
  ATLANTIC
  411 W PUTNAM AVE STE 225                        Case Number*                     Secured            Priority                   Unsecured         Case Number*         Secured           Priority      Unsecured
  GREENWICH, CT 06830                             05-44640                                                                           $595,983.31   05-44640                                                 $530,803.34

                                                                                                                                     $595,983.31                                                            $530,803.34

Claim: 13458
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $74,664.00                       DECO AUTOMOTIVE A DIVISION OF                    Docketed Total:                   $74,664.00   DECO AUTOMOTIVE A DIVISION OF    Modified Total:           $74,664.00
Filing Creditor Name and Address:                  MAGNA INTERNATIONAL INC                                                                         MAGNA INTERNATIONAL INC
  DECO AUTOMOTIVE A DIVISION                       40950 WOODWARD AVE STE 100                                                                      40950 WOODWARD AVE STE 100
  OF MAGNA INTERNATIONAL INC                       BLOOMFIELD HILLS, MI 48304                                                                      BLOOMFIELD HILLS, MI 48304
  40950 WOODWARD AVE STE 100
  BLOOMFIELD HILLS, MI 48304                      Case Number*                     Secured            Priority                   Unsecured         Case Number*         Secured           Priority      Unsecured
                                                  05-44640                             $74,664.00                                                  05-44640                                                  $74,664.00

                                                                                       $74,664.00                                                                                                             $74,664.00

Claim: 7247
                                                   Claim Holder Name and Address
Date Filed: 06/01/2006
Docketed Total:   $192,937.77                      EXXONMOBIL OIL CORPORATION                       Docketed Total:                  $192,937.77   EXXONMOBIL OIL CORPORATION       Modified Total:            $7,352.96
Filing Creditor Name and Address:                  EXXONMOBIL BUSINESS SUPPORT                                                                     EXXONMOBIL BUSINESS SUPPORT
  EXXONMOBIL OIL                                   CENTER                                                                                          CENTER
  CORPORATION                                      120 MCDONALD ST                                                                                 120 MCDONALD ST
  EXXONMOBIL BUSINESS                              ST JOHN, NB E2J 1M5                                                                             ST JOHN, NB E2J 1M5
  SUPPORT CENTER                                   CANADA                                                                                          CANADA
  120 MCDONALD ST
  ST JOHN, NB E2J 1M5                             Case Number*                     Secured            Priority                   Unsecured         Case Number*         Secured           Priority      Unsecured
  CANADA                                          05-44481                                                                           $192,937.77   05-44640                                                    $7,352.96

                                                                                                                                     $192,937.77                                                               $7,352.96




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Case No. 05-44481 (RDD)
 EXHIBIT F-6 - ADJOURNED CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 14126
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $376,357.61                      FCI AUTOMOTIVE DEUTSCHLAND                Docketed Total:                  $376,357.61   FCI AUTOMOTIVE DEUTSCHLAND         Modified Total:         $148,675.44
Filing Creditor Name and Address:                  GMBH                                                                                     GMBH
  FCI AUTOMOTIVE                                   PIERCE ATWOOD LLP                                                                        PIERCE ATWOOD LLP
  DEUTSCHLAND GMBH                                 ONE MONUMENT SQ                                                                          ONE MONUMENT SQ
  PIERCE ATWOOD LLP                                PORTLAND, ME 04101-1110                                                                  PORTLAND, ME 04101-1110
  ONE MONUMENT SQ
  PORTLAND, ME 04101-1110                         Case Number*                     Secured     Priority                   Unsecured         Case Number*          Secured            Priority      Unsecured
                                                  05-44640                                                                    $376,357.61   05-44640                                                   $148,675.44

                                                                                                                              $376,357.61                                                              $148,675.44

Claim: 14129
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $15,945.87                       FCI AUTOMOTIVE FRANCE SA                  Docketed Total:                   $15,945.87   FCI AUTOMOTIVE FRANCE SA           Modified Total:            $1,981.36
Filing Creditor Name and Address:                  PIERCE ATWOOD LLP                                                                        PIERCE ATWOOD LLP
  FCI AUTOMOTIVE FRANCE SA                         ONE MONUMENT SQUARE                                                                      ONE MONUMENT SQUARE
  PIERCE ATWOOD LLP                                PORTLAND, ME 04101-1110                                                                  PORTLAND, ME 04101-1110
  ONE MONUMENT SQUARE
  PORTLAND, ME 04101-1110                         Case Number*                     Secured     Priority                   Unsecured         Case Number*          Secured            Priority      Unsecured
                                                  05-44640                                                                     $15,945.87   05-44640                                                      $1,981.36

                                                                                                                               $15,945.87                                                                 $1,981.36

Claim: 14125
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $76,964.21                       FCI CANADA INC                            Docketed Total:                   $76,964.21   FCI CANADA INC                     Modified Total:           $64,568.00
Filing Creditor Name and Address:                  PIERCE ATWOOD LLP                                                                        PIERCE ATWOOD LLP
  FCI CANADA INC                                   ONE MONUMENT SQUARE                                                                      ONE MONUMENT SQUARE
  PIERCE ATWOOD LLP                                PORTLAND, ME 04101-1110                                                                  PORTLAND, ME 04101-1110
  ONE MONUMENT SQUARE
  PORTLAND, ME 04101-1110                         Case Number*                     Secured     Priority                   Unsecured         Case Number*          Secured            Priority      Unsecured
                                                  05-44640                                                                     $76,964.21   05-44567                                                      $2,000.00
                                                                                                                                            05-44640                                                     $62,568.00
                                                                                                                               $76,964.21
                                                                                                                                                                                                         $64,568.00




*See Exhibit G for a listing of debtor entities by case number.
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 EXHIBIT F-6 - ADJOURNED CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 14128
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $294,001.77                      FCI ELECTRONICS MEXIDO S DE RL            Docketed Total:                  $294,001.77   FCI ELECTRONICS MEXIDO S DE RL    Modified Total:         $179,807.77
Filing Creditor Name and Address:                  DE CV                                                                                    DE CV
  FCI ELECTRONICS MEXIDO S DE                      PIERCE ATWOOD LLP                                                                        PIERCE ATWOOD LLP
  RL DE CV                                         ONE MONUMENT SQUARE                                                                      ONE MONUMENT SQUARE
  PIERCE ATWOOD LLP                                PORTLAND, ME 04101-1110                                                                  PORTLAND, ME 04101-1110
  ONE MONUMENT SQUARE
  PORTLAND, ME 04101-1110                         Case Number*                     Secured     Priority                   Unsecured         Case Number*          Secured           Priority      Unsecured
                                                  05-44640                                                                    $294,001.77   05-44640                                                  $171,887.77
                                                                                                                                            05-44567                                                    $7,920.00
                                                                                                                              $294,001.77
                                                                                                                                                                                                      $179,807.77

Claim: 14127
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $361.40                          FCI ITALIA SPA                            Docketed Total:                      $361.40   FCI ITALIA SPA                    Modified Total:             $104.51
Filing Creditor Name and Address:                  PIERCE ATWOOD LLP                                                                        PIERCE ATWOOD LLP
  FCI ITALIA SPA                                   ONE MONUMENT SQUARE                                                                      ONE MONUMENT SQUARE
  PIERCE ATWOOD LLP                                PORTLAND, ME 04101-1110                                                                  PORTLAND, ME 04101-1110
  ONE MONUMENT SQUARE
  PORTLAND, ME 04101-1110                         Case Number*                     Secured     Priority                   Unsecured         Case Number*          Secured           Priority      Unsecured
                                                  05-44640                                                                        $361.40   05-44640                                                      $104.51

                                                                                                                                  $361.40                                                                 $104.51

Claim: 14130
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $407,299.95                      FCI USA INC                               Docketed Total:                  $407,299.95   FCI USA INC                       Modified Total:         $252,375.95
Filing Creditor Name and Address:                  PIERCE ATWOOD LLP                                                                        PIERCE ATWOOD LLP
  FCI USA INC                                      ONE MONUMENT SQUARE                                                                      ONE MONUMENT SQUARE
  PIERCE ATWOOD LLP                                PORTLAND, ME 04101-1110                                                                  PORTLAND, ME 04101-1110
  ONE MONUMENT SQUARE
  PORTLAND, ME 04101-1110                         Case Number*                     Secured     Priority                   Unsecured         Case Number*          Secured           Priority      Unsecured
                                                  05-44640                                                                    $407,299.95   05-44567                                                      $183.00
                                                                                                                                            05-44640                                                  $252,192.95
                                                                                                                              $407,299.95
                                                                                                                                                                                                      $252,375.95




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 EXHIBIT F-6 - ADJOURNED CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                                      CLAIM AS MODIFIED

Claim: 9950
                                                   Claim Holder Name and Address
Date Filed: 07/19/2006
Docketed Total:   $131,873.52                      CONTRARIAN FUNDS LLC                             Docketed Total:                  $131,873.52   CONTRARIAN FUNDS LLC               Modified Total:           $47,252.75
Filing Creditor Name and Address:                  411 W PUTNAM AVE STE 225                                                                        411 W PUTNAM AVE STE 225
  FERRO ELECTRONIC MATERIALS                       GREENWICH, CT 06830                                                                             GREENWICH, CT 06830
  1000 LAKESIDE AVE
  CLEVELAND, OH 44114                             Case Number*                     Secured            Priority                   Unsecured         Case Number*          Secured            Priority      Unsecured
                                                  05-44481                                                                           $131,873.52   05-44640                                                    $47,252.75

                                                                                                                                     $131,873.52                                                                $47,252.75

Claim: 12212
                                                   Claim Holder Name and Address
Date Filed: 07/28/2006
Docketed Total:   $800,348.45                      FLAMBEAU INC                                     Docketed Total:                  $800,348.45   FLAMBEAU INC                       Modified Total:         $475,334.73
Filing Creditor Name and Address:                  801 LYNN AVE                                                                                    801 LYNN AVE
  FLAMBEAU INC                                     BARABOO, WI 53913                                                                               BARABOO, WI 53913
  801 LYNN AVE
  BARABOO, WI 53913                               Case Number*                     Secured            Priority                   Unsecured         Case Number*          Secured            Priority      Unsecured
                                                  05-44481                            $800,348.45                                                  05-44640                                                   $475,334.73

                                                                                      $800,348.45                                                                                                             $475,334.73

Claim: 2377
                                                   Claim Holder Name and Address
Date Filed: 03/22/2006
Docketed Total:   $5,504,674.99                    FUJITSU TEN CORP OF AMERICA                      Docketed Total:                $5,504,674.99   FUJITSU TEN CORP OF AMERICA        Modified Total:        $5,203,385.28
Filing Creditor Name and Address:                  47800 HALYARD DR                                                                                47800 HALYARD DR
  FUJITSU TEN CORP OF AMERICA                      PLYMOUTH, MI 48170                                                                              PLYMOUTH, MI 48170
  47800 HALYARD DR
  PLYMOUTH, MI 48170                              Case Number*                     Secured            Priority                   Unsecured         Case Number*          Secured            Priority      Unsecured
                                                  05-44640                                                                         $5,504,674.99   05-44640                                                  $5,203,385.28

                                                                                                                                   $5,504,674.99                                                             $5,203,385.28




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
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Case No. 05-44481 (RDD)
 EXHIBIT F-6 - ADJOURNED CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 10191
                                                   Claim Holder Name and Address
Date Filed: 07/21/2006
Docketed Total:   $7,020.00                        GE CONSUMER & INDUSTRIAL F K A            Docketed Total:                    $7,020.00   GE CONSUMER & INDUSTRIAL F K A   Modified Total:            $3,680.00
Filing Creditor Name and Address:                  GE LIGHTING                                                                              GE LIGHTING
  GE CONSUMER & INDUSTRIAL F                       11256 CORNELL PARK DR STE 500                                                            11256 CORNELL PARK DR STE 500
  K A GE LIGHTING                                  CINCINNATI, OH 45242                                                                     CINCINNATI, OH 45242
  11256 CORNELL PARK DR STE
  500                                             Case Number*                     Secured     Priority                   Unsecured         Case Number*         Secured           Priority      Unsecured
  CINCINNATI, OH 45242                            05-44640                                                                      $7,020.00   05-44640                                                    $3,680.00

                                                                                                                                $7,020.00                                                               $3,680.00

Claim: 9352
                                                   Claim Holder Name and Address
Date Filed: 07/11/2006
Docketed Total:   $4,948,005.65                    HEWLETT PACKARD COMPANY                   Docketed Total:                $4,948,005.65   HEWLETT PACKARD COMPANY          Modified Total:        $4,887,481.59
Filing Creditor Name and Address:                  2125 E KATELLA AVE STE 400                                                               2125 E KATELLA AVE STE 400
  HEWLETT PACKARD COMPANY                          ANAHEIM, CA 92806                                                                        ANAHEIM, CA 92806
  2125 E KATELLA AVE STE 400
  ANAHEIM, CA 92806                               Case Number*                     Secured     Priority                   Unsecured         Case Number*         Secured           Priority      Unsecured
                                                  05-44481                                                                  $4,948,005.65   05-44482                                                     $290.64
                                                                                                                                            05-44481                                                $4,887,190.95
                                                                                                                            $4,948,005.65
                                                                                                                                                                                                    $4,887,481.59

Claim: 10683
                                                   Claim Holder Name and Address
Date Filed: 07/26/2006
Docketed Total:   $953,280.40                      HEWLETT PACKARD FINANCIAL                 Docketed Total:                  $953,280.40   HEWLETT PACKARD FINANCIAL        Modified Total:         $166,642.02
Filing Creditor Name and Address:                  SERVICES COMPANY FKA COMPAQ                                                              SERVICES COMPANY FKA COMPAQ
  HEWLETT PACKARD FINANCIAL                        FINANCIAL SERVICES                                                                       FINANCIAL SERVICES
  SERVICES COMPANY FKA                             CORPORATION                                                                              CORPORATION
  COMPAQ FINANCIAL SERVICES                        420 MOUNTAIN AVE                                                                         420 MOUNTAIN AVE
  CORPORATION                                      MURRAY HILL, NJ 07974-0006                                                               MURRAY HILL, NJ 07974-0006
  420 MOUNTAIN AVE
  MURRAY HILL, NJ 07974-0006                      Case Number*                     Secured     Priority                   Unsecured         Case Number*         Secured           Priority      Unsecured
                                                  05-44640                                                                    $953,280.40   05-44640                                                 $166,642.02

                                                                                                                              $953,280.40                                                            $166,642.02




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CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 11968
                                                   Claim Holder Name and Address
Date Filed: 07/28/2006
Docketed Total:   $6,491,471.33                    INFINEON TECHNOLOGIES NORTH               Docketed Total:                $6,491,471.33   INFINEON TECHNOLOGIES NORTH         Modified Total:        $6,333,628.25
Filing Creditor Name and Address:                  AMERICA CORP                                                                             AMERICA CORP
  INFINEON TECHNOLOGIES                            SACHNOFF & WEAVER LTD                                                                    SACHNOFF & WEAVER LTD
  NORTH AMERICA CORP                               10 S WACKER DR 40TH FL                                                                   10 S WACKER DR 40TH FL
  SACHNOFF & WEAVER LTD                            CHICAGO, IL 60606                                                                        CHICAGO, IL 60606
  10 S WACKER DR 40TH FL
  CHICAGO, IL 60606                               Case Number*                     Secured     Priority                   Unsecured         Case Number*          Secured             Priority      Unsecured
                                                  05-44640                                                                  $6,491,471.33   05-44640                                                   $6,333,628.25

                                                                                                                            $6,491,471.33                                                              $6,333,628.25

Claim: 1157
                                                   Claim Holder Name and Address
Date Filed: 12/09/2005
Docketed Total:   $18,679.06                       MOTOROLA INC                              Docketed Total:                   $18,679.06   MOTOROLA INC                        Modified Total:             $763.98
Filing Creditor Name and Address:                  1307 E ALGONQUIN RD SWA2                                                                 1307 E ALGONQUIN RD SWA2
  MOTOROLA INC                                     SCHAUMBURG, IL 60196-1078                                                                SCHAUMBURG, IL 60196-1078
  1307 E ALGONQUIN RD SWA2
  SCHAUMBURG, IL 60196-1078                       Case Number*                     Secured     Priority                   Unsecured         Case Number*          Secured             Priority      Unsecured
                                                  05-44481                                                                     $18,679.06   05-44640                                                        $763.98

                                                                                                                               $18,679.06                                                                   $763.98

Claim: 9771
                                                   Claim Holder Name and Address
Date Filed: 07/18/2006
Docketed Total:   $977,354.65                      BEAR STEARNS INVESTMENT                   Docketed Total:                  $977,354.65   BEAR STEARNS INVESTMENT             Modified Total:         $713,175.52
Filing Creditor Name and Address:                  PRODUCTS INC                                                                             PRODUCTS INC
  NSS TECHNOLOGIES INC FKA                         383 MADISON AVE                                                                          383 MADISON AVE
  NATIONAL SET SCREW CORP                          NEW YORK, NY 10179                                                                       NEW YORK, NY 10179
  C O ROBERT SZWAJKOS ESQ
  CURTIN & HEEFNER LLP                            Case Number*                     Secured     Priority                   Unsecured         Case Number*          Secured             Priority      Unsecured
  250 N PENNSYLVANIA                              05-44640                                                                    $977,354.65   05-44640                                                    $713,175.52
  MORRISVILLE, PA 19067
                                                                                                                              $977,354.65                                                               $713,175.52




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CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 8875
                                                   Claim Holder Name and Address
Date Filed: 06/30/2006
Docketed Total:   $505,106.24                      RIVERSIDE CLAIMS LLC AS                   Docketed Total:                  $505,106.24   RIVERSIDE CLAIMS LLC AS            Modified Total:         $168,224.07
Filing Creditor Name and Address:                  ASSIGNEE FOR PRODUCT ACTION                                                              ASSIGNEE FOR PRODUCT ACTION
  RIVERSIDE CLAIMS LLC AS                          INTERNATIONAL LLC                                                                        INTERNATIONAL LLC
  ASSIGNEE FOR PRODUCT                             PO BOX 626 PLANETARIUM                                                                   PO BOX 626 PLANETARIUM
  ACTION INTERNATIONAL LLC                         STATION                                                                                  STATION
  PO BOX 626 PLANETARIUM                           NEW YORK, NY 10024                                                                       NEW YORK, NY 10024
  STATION
  NEW YORK, NY 10024                              Case Number*                     Secured     Priority                   Unsecured         Case Number*         Secured             Priority      Unsecured
                                                  05-44640                                                                    $505,106.24   05-44640                                                   $155,808.94
                                                                                                                                            05-44567                                                     $12,415.13
                                                                                                                              $505,106.24
                                                                                                                                                                                                       $168,224.07

Claim: 4011
                                                   Claim Holder Name and Address
Date Filed: 05/01/2006
Docketed Total:   $30,350.37                       MADISON INVESTMENT TRUST                  Docketed Total:                   $30,350.37   MADISON INVESTMENT TRUST           Modified Total:           $22,815.18
Filing Creditor Name and Address:                  SERIES 38                                                                                SERIES 38
  ROOT NEAL & CO INC                               6310 LAMAR AVE STE 120                                                                   6310 LAMAR AVE STE 120
  64 PEABODY ST                                    OVERLAND PARK, KS 66202                                                                  OVERLAND PARK, KS 66202
  BUFFALO, NY 14240
                                                  Case Number*                     Secured     Priority                   Unsecured         Case Number*         Secured             Priority      Unsecured
                                                  05-44481                                                                     $30,350.37   05-44640                                                    $22,815.18

                                                                                                                               $30,350.37                                                                $22,815.18

Claim: 3657
                                                   Claim Holder Name and Address
Date Filed: 05/01/2006
Docketed Total:   $17,579.52                       SIEMENS AKTIENGESELLCHAFT                 Docketed Total:                   $17,579.52   SIEMENS AKTIENGESELLCHAFT          Modified Total:            $4,753.03
Filing Creditor Name and Address:                  10 SOUTH WACKER DRIVE 40TH FL                                                            10 SOUTH WACKER DRIVE 40TH FL
  SIEMENS AKTIENGESELLCHAFT                        CHICAGO, IL 60606                                                                        CHICAGO, IL 60606
  10 SOUTH WACKER DRIVE 40TH
  FL                                              Case Number*                     Secured     Priority                   Unsecured         Case Number*         Secured             Priority      Unsecured
  CHICAGO, IL 60606                               05-44481                                                                     $17,579.52   05-44640                                                      $4,753.03

                                                                                                                               $17,579.52                                                                 $4,753.03




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
In re Delphi Corporation, et al.
                                                 05-44481-rdd               Doc 9692-18      Filed 09/28/07 Entered 09/28/07 16:40:29                                 Exhibit F-6
                                                                                                     Pg 9 of 10                                                               Twentieth Omnibus Claims Objection
Case No. 05-44481 (RDD)
 EXHIBIT F-6 - ADJOURNED CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                               CLAIM AS MODIFIED

Claim: 12108
                                                   Claim Holder Name and Address
Date Filed: 07/28/2006
Docketed Total:   $27,271.67                       SOUTHWEST RESEARCH INSTITUTE              Docketed Total:                   $27,271.67   SOUTHWEST RESEARCH INSTITUTE      Modified Total:                $21,639.49
Filing Creditor Name and Address:                  PO DRAWER 28510                                                                          PO DRAWER 28510
  SOUTHWEST RESEARCH                               SAN ANTONIO, TX 78228-8400                                                               SAN ANTONIO, TX 78228-8400
  INSTITUTE
  PO DRAWER 28510                                 Case Number*                     Secured     Priority                   Unsecured         Case Number*          Secured           Priority            Unsecured
  SAN ANTONIO, TX 78228-8400                      05-44547                                                                     $27,271.67   05-44640                                                         $21,639.49

                                                                                                                               $27,271.67                                                                    $21,639.49

Claim: 14135
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $1,424,133.17                    SPCP GROUP LLC AS ASSIGNEE OF             Docketed Total:                   $46,446.17   SPCP GROUP LLC AS ASSIGNEE OF     Modified Total:                       $0.00
Filing Creditor Name and Address:                  ENERGY CONVERSION SYSTEMS                                                                ENERGY CONVERSION SYSTEMS
  SPCP GROUP LLC AS ASSIGNEE                       COMPANY                                                                                  COMPANY
  OF ENERGY CONVERSION                             TWO GREENWICH PLZ 1ST FL                                                                 TWO GREENWICH PLZ 1ST FL
  COMPANY                                          GREENWICH, CT 06830                                                                      GREENWICH, CT 06830
  TWO GREENWICH PLZ 1ST FL
  GREENWICH, CT 06830                             Case Number*                     Secured     Priority                   Unsecured         Case Number*          Secured           Priority            Unsecured
                                                  05-44640                                          $46,446.17                              05-44640                                            $0.00

                                                                                                    $46,446.17                                                                                  $0.00

                                                   Claim Holder Name and Address

                                                   SPECIAL SITUATIONS INVESTING              Docketed Total:                $1,377,687.00                                                                   $874,366.13
                                                                                                                                            SPECIAL SITUATIONS INVESTING      Modified Total:
                                                   GROUP INC                                                                                GROUP INC
                                                   C O GOLDMAN SACHS & CO                                                                   C O GOLDMAN SACHS & CO
                                                   85 BROAD ST 27TH FL                                                                      85 BROAD ST 27TH FL
                                                   NEW YORK, NY 10004                                                                       NEW YORK, NY 10004


                                                  Case Number*                     Secured     Priority                   Unsecured
                                                                                                                                            Case Number*          Secured           Priority            Unsecured
                                                  05-44640                                         $341,143.65              $1,036,543.35
                                                                                                                                            05-44640                                            $0.00       $874,366.13
                                                                                                   $341,143.65              $1,036,543.35
                                                                                                                                                                                                $0.00       $874,366.13




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
In re Delphi Corporation, et al.
                                                 05-44481-rdd               Doc 9692-18      Filed 09/28/07 Entered 09/28/07 16:40:29                              Exhibit F-6
                                                                                                    Pg 10 of 10                                                                 Twentieth Omnibus Claims Objection
Case No. 05-44481 (RDD)
 EXHIBIT F-6 - ADJOURNED CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                            CLAIM AS MODIFIED

Claim: 9772
                                                   Claim Holder Name and Address
Date Filed: 07/18/2006
Docketed Total:   $72,034.20                       BEAR STEARNS INVESTMENT                   Docketed Total:                $72,034.20   BEAR STEARNS INVESTMENT                Modified Total:          $72,025.32
Filing Creditor Name and Address:                  PRODUCTS INC                                                                          PRODUCTS INC
  SPS TECHNOLOGIES                                 383 MADISON AVE                                                                       383 MADISON AVE
  WATERFORD COMPANY FKA                            NEW YORK, NY 10179                                                                    NEW YORK, NY 10179
  TERRY MACHINE COMPANY
  C O ROBERT SZWAJKOS ESQUIRE                     Case Number*                     Secured     Priority                Unsecured         Case Number*          Secured               Priority       Unsecured
  CURTIN & HEEFNER LLP                            05-44640                                                                  $72,034.20   05-44640                                                        $72,025.32
  250 N PENNSYLVANIA AVE
  MORRISVILLE, PA 19067                                                                                                     $72,034.20                                                                   $72,025.32

Claim: 15378
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $996,729.62                      TEXAS INSTRUMENTS                         Docketed Total:               $996,729.62   TEXAS INSTRUMENTS                      Modified Total:         $345,112.09
Filing Creditor Name and Address:                  INCORPORATED                                                                          INCORPORATED
  TEXAS INSTRUMENTS                                MUNSCH HARDT KOPF & HARR PC                                                           MUNSCH HARDT KOPF & HARR PC
  INCORPORATED                                     500 N AKARD ST SUITE 3800                                                             500 N AKARD ST SUITE 3800
  MUNSCH HARDT KOPF & HARR                         DALLAS, TX 75201-6659                                                                 DALLAS, TX 75201-6659
  PC
  500 N AKARD ST SUITE 3800                       Case Number*                     Secured     Priority                Unsecured         Case Number*          Secured               Priority       Unsecured
  DALLAS, TX 75201-6659                           05-44640                                                                 $996,729.62   05-44640                                                       $345,112.09

                                                                                                                           $996,729.62                                                                  $345,112.09

Claim: 6407
                                                   Claim Holder Name and Address
Date Filed: 05/22/2006
Docketed Total:   $289,254.87                      UNITED TELEPHONE COMPANY OF               Docketed Total:               $289,254.87   UNITED TELEPHONE COMPANY OF            Modified Total:         $119,526.48
Filing Creditor Name and Address:                  OHIO                                                                                  OHIO
  UNITED TELEPHONE COMPANY                         PO BOX 7971                                                                           PO BOX 7971
  OF OHIO                                          SHAWNEE MISSION, KS 66207-0971                                                        SHAWNEE MISSION, KS 66207-0971
  PO BOX 7971
  SHAWNEE MISSION, KS                             Case Number*                     Secured     Priority                Unsecured         Case Number*          Secured               Priority       Unsecured
  66207-0971                                      05-44481                                                                 $289,254.87   05-44640                                                       $119,526.48

                                                                                                                           $289,254.87                                                                  $119,526.48


                                                                                                                                              Total Claims to be Modified: 29
                                                                                                                                              Total Amount as Docketed:          $25,501,707.37
                                                                                                                                              Total Amount as Modified:          $20,956,450.17



*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
